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 7                       UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
     OTASHE GOLDEN, M.D.; THE
10   CALIFORNIA PRIMARY CARE
     MEDICAL GROUP, INC. and
11   THE CALIFORNIA HOSPITALIST
     PHYSICIANS, INC.,
12                                           NO. CIV. S-12-0751 LKK/EFB
               Plaintiffs,
13
          v.
14                                                      O R D E R
     DAMERON HOSPITAL ASSOCIATION,
15   a California Non-Profit
     Association; NICHOLAS
16   ARISMENDI, an individual;
     DIEGO FERRO, M.D. and
17   DOES 1-10, inclusive,

18             Defendants.
                                        /
19

20        Defendants seek an order from this court sending all of

21   plaintiffs’ claims to binding arbitration.          However, the court

22   requires further briefing on the matter.       Accordingly, defendants

23   as the moving parties, shall, no later than fourteen (14) days from

24   the date of this order, file a brief and any supporting papers,

25   with the brief not to exceed ten (10) pages in length, regarding

26   the following:

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 1        1.     It appears that in order for this court to exercise its

 2   authority   under   the    Federal   Arbitration   Act,   the   Agreements

 3   containing the arbitration clauses at issue must evidence “a

 4   transaction involving [interstate] commerce.”             9 U.S.C. § 2.

 5   Defendants do not assert that any of these Agreements involve

 6   interstate commerce.1       The Supreme Court however, has recently

 7   emphasized the importance of considering the Commerce Clause in

 8   determining whether a federal grant of authority may be exercised.

 9   See Nat’l Ass’n of Independent Business v. Sebelius, 567 U.S. ___,

10   132 S. Ct. 2566 (June 28, 2012). Accordingly, defendants, in their

11   brief and any accompanying declarations and documentation, shall

12   make a showing sufficient for the court to determine whether the

13   Agreements at issue evidence a transaction involving interstate

14   commerce.

15        2.     Defendants seek an order of this court based upon the

16   arbitration clause contained in the Hospitalist Agreement.             That

17   is an Agreement which is alleged (by plaintiffs) to be a contract

18   between   California      Hospitalist    Physicians,   Inc.   and    Dameron

19   Hospital.   However, defendants have not submitted a final, signed

20   Hospitalist Agreement, nor even a stipulation as to its existence

21   and contents.2   If defendants wish to compel arbitration pursuant

22
          1
            The court is aware that plaintiffs have asserted that
23   defendant Dameron is a recipient of federal funds. If defendants
     intend to rely upon this allegation, they must explain why it is
24   sufficient to establish interstate commerce.
25        2
            The court is aware that plaintiffs have attached an Exhibit
     A, and that they allege that Exhibit A is the Agreement. However,
26   Exhibit A is labeled “DRAFT 2,” is unsigned, and purports to be

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 1   to this Agreement, they must provide a copy of it to the court,

 2   accompanied by an authenticating declaration, or explain why they

 3   have not done so.

 4        3.   Defendants seek an order of this court based upon the

 5   arbitration   clause   contained   in   the   Recruitment   Agreement.

 6   However, defendants have not submitted a final, signed Recruitment

 7   Agreement to the court, nor even a stipulation as to its existence

 8   and contents.3   If defendants wish to compel arbitration pursuant

 9   to this Agreement, they must provide a final, signed copy of it to

10   the court, accompanied by an authenticating declaration, or explain

11   why they have not done so.

12        3.   Plaintiffs shall have fourteen (14) days from the date

13   defendants’ brief is filed, to file their response, if any.          The

14   legal portion of the response shall not exceed ten (10) pages in

15   length.

16        4.   There shall be no further briefing without further order

17   of this court.

18        IT IS SO ORDERED.

19        DATED:   July 17, 2012.

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24   between Dameron Hospitalist Medical Group and Dameron Hospital
     Association.
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            The Recruitment Agreement submitted by defendants is not
26   signed by all the parties to it.

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